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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION


STEPHEN HOOKER,

      Plaintiff,                                 Case No. 4:18-cv-377
                                                 On removal from the Circuit Court of the
                                                 Second Judicial Circuit, In and for Gadsden
v.                                               County, Florida, Case No. 2018-CA-000419

MIKE CARROLL, as Secretary of the Florida Department of
Children and Families, MARGUERITE MORGAN, individually and
As Administrator of Florida State Hospital, RICKY RENARD
WYCHE, JR., and LATRELLE FAIN, individually,

     Defendants.
_____________________________________/

                   DEFENDANTS’ NOTICE OF REMOVAL

      The Defendants, MIKE CARROLL, as Secretary of the FLORIDA

DEPARTMENT OF CHILDREN & FAMILIES, and MARGUERITE MORGAN,

individually and as Administrator of Florida State Hospital, pursuant to 28 U.S.C.

§1441, et seq, and 1446, and Local Rules 3.1(B) and 7.2 of the United States

District Court for the Northern District of Florida, hereby give notice of the

removal of an action pending in the Circuit Court of the Second Judicial Circuit, in

and for Gadsden County, Florida, and in support of the removal, states the

following:

      1.     Defendants desire to exercise their right under the provisions of Title

28 U.S.C. §1441, et seq., to remove this action from the Circuit Court of the
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Second Judicial Circuit in and for Gadsden County, Florida, where it is now

pending under the name and style of Stephen Hooker v. MIKE CARROLL, as

Secretary of the Florida Department of Children and Families, et al., Case No.

18CA000419 (hereinafter referred to as the Circuit Court Action). The Circuit

Court Action is of a civil nature over which the United States district courts have

been given original jurisdiction and which may be promptly removed. See 28

U.S.C. §1331 and 1441.        Specifically, Plaintiff’s claims for damages include

federal claims brought 42 U.S.C. §§ 1983 and 1988 for purported violations of

Plaintiff’s rights under the Fourteenth Amendment. See Exhibit A, Plaintiff’s

Complaint at ¶¶ 3, 63 66, and 69.

      2.     Under the provisions of 28 U.S.C. §1441, et seq., Defendants have the

right to remove this cause from the Circuit Court Action to the United States

District Court for the Northern District of Florida, Tallahassee Division, the district

and division in which the action is currently pending.

      3.     Plaintiff served the summons and complaint upon the Florida

Department of Children & Families and Marguerite Morgan on July 19, 2018. In

accordance with the requirements of 28 U.S.C. §1446, this petition for removal is

filed within 30 days after receipt of the initial pleading by the Defendants through

service of the summons and complaint.




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      4.     Pursuant to 28 U.S.C. §1446(a), Defendants have filed with this

Notice of Removal, true and legible copies of Plaintiff’s Complaint and all process,

pleadings or orders on file in the state court as of the date of this Notice of

Removal, including copies of the following documents served upon it or which

have been filed in the Circuit Court Action:

             (a)    Plaintiff’s Complaint is attached hereto as Exhibit A.

             (b)    The summonses that have been issued to Plaintiff by the

Gadsden County Clerk of Court are attached hereto as Exhibit B. 1

             (c)    The summonses for Defendants Mike Carroll, as Secretary of

the Department of Children and Families, and Marguerite Morgan, evidencing the

date of service of process of Plaintiff’s complaint are attached hereto as Exhibit C,

in lieu of the formal service returns, which have not yet been filed by Plaintiff.

             (d)    Notice of Appearance by Henry Buchanan, P.A. on behalf of

the Defendants Carroll and Morgan, served on August 2, 2018, is attached hereto

as Exhibit D.

      5.     As set forth herein, the Defendants desire and are entitled to have this

cause removed from the Circuit Court of the Second Judicial Circuit in and for



1
 A review of the Gadsden County Clerk’s online docket reveals that summonses
for the other named defendants, Ricky Renard Wyche, Jr., and Latrelle Fain, have
not yet been issued.


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Gadsden County, Florida, to the United States District Court for the Northern

District of Florida, Tallahassee Division.

      6.     Written notice of the filing of this petition will be given to the adverse

party as required by law.

      7.     A true copy of this petition will also be filed with the Clerk of the

Circuit Court of the Second Judicial Circuit in and for Gadsden County, Florida, as

required by law.

      WHEREFORE, Defendants, MIKE CARROLL, as Secretary of the

FLORIDA DEPARTMENT OF CHILDREN & FAMILIES, and MARGUERITE

MORGAN, individually and as Administrator of Florida State Hospital,

respectfully request that this action be removed to this Court and that this Court

accept jurisdiction and, henceforth, that this action be placed on the docket of this

Court for further proceedings, the same as though this action had been originally

instituted in this Court.

      Dated this 8th day of August, 2018.

                                       HENRY BUCHANAN, P.A.


                                       s/ Laura Beth Faragasso
                                       LAURA BETH FARAGASSO
                                       Florida Bar No. 0654604
                                       lbfaragasso@henryblaw.com
                                       DAWN M. McMAHON
                                       Florida Bar No. 735531
                                       dmcmahon@henryblaw.com

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                                     Post Office Drawer 14079
                                     Tallahassee, Florida 32317-4079
                                     Telephone: (850) 222-2920
                                     Facsimile: (850) 224-0034
                                     Attorneys for Defendants
                                     MIKE CARROLL, as Secretary of the
                                     FLORIDA DEPARTMENT OF CHILDREN
                                     & FAMILIES, and MARGUERITE
                                     MORGAN, individually and as
                                     Administrator of Florida State Hospital.




                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing has been

electronically filed via the CM/ECF system and furnished via electronic mail and

U.S. Mail to: James V. Cook, Esq., 314 W. Jefferson St., Tallahassee, FL 32301 on

this 8th day of August, 2018.


                                     s/Laura Beth Faragasso
                                     Attorney




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                         Exhibit A
                               to
                 DEFENDANTS’ NOTICE OF REMOVAL




             Plaintiff’s Complaint




STEPHEN HOOKER v. MIKE CARROLL, as Secretary of the Florida Department of
Children and Families, MARGUERITE MORGAN, individually and
As Administrator of Florida State Hospital, RICKY RENARD
WYCHE, JR., and LATRELLE FAIN, individually,
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                          Exhibit B
                               to
                 DEFENDANTS’ NOTICE OF REMOVAL




  Summonses issued to Plaintiff
   by Gadsden County Clerk of
             Court




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Children and Families, MARGUERITE MORGAN, individually and
As Administrator of Florida State Hospital, RICKY RENARD
WYCHE, JR., and LATRELLE FAIN, individually,
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                         Exhibit C
                               to
                 DEFENDANTS’ NOTICE OF REMOVAL




                  Summonses
              (Service of process)




STEPHEN HOOKER v. MIKE CARROLL, as Secretary of the Florida Department of
Children and Families, MARGUERITE MORGAN, individually and
As Administrator of Florida State Hospital, RICKY RENARD
WYCHE, JR., and LATRELLE FAIN, individually,
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                         Exhibit D
                               to
                 DEFENDANTS’ NOTICE OF REMOVAL




   Notice of Appearance on behalf of the
    Defendants Carroll and Morgan by
          Henry Buchanan, P.A.




STEPHEN HOOKER v. MIKE CARROLL, as Secretary of the Florida Department of
Children and Families, MARGUERITE MORGAN, individually and
As Administrator of Florida State Hospital, RICKY RENARD
WYCHE, JR., and LATRELLE FAIN, individually,
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                   IN THE CIRCUIT COURT OF THE SECOND JUDICIAL CIRCUIT
                            IN AND FOR GADSDENCOUNTY, FLORIDA


        STEPHEN HOOKER,

               Plaintiff,
                                                                   Case No. 2018-CA-000419
        vs.

        MIKE CARROLL, as Secretary of the Florida Department of
        Children and Families, MARGUERITE MORGAN, individually and
        As Administrator of Florida State Hospital, RICKY RENARD
        WYCHE, JR., and LATRELLE FAIN, individually,

              Defendants.
        _____________________________________________/

                                       NOTICE OF APPEARANCE

               PLEASE TAKE NOTICE that the undersigned hereby notices the appearance of Henry

        Buchanan, P.A., and its attorneys, Laura Beth Faragasso and Dawn M. McMahon on behalf of

        Defendants, MIKE CARROLL, as Secretary of the FLORIDA DEPARTMENT OF CHILDREN

        & FAMILIES, and MARGUERITE MORGAN, individually and as Administrator of Florida

        State Hospital. The undersigned respectfully requests inclusion with the party’s service list

        respective to this cause.

               Dated this 2nd day of August, 2018.

                                                     HENRY BUCHANAN, P.A.


                                                     s/ Laura Beth Faragasso
                                                     LAURA BETH FARAGASSO
                                                     Florida Bar No. 0654604
                                                     lbfaragasso@henryblaw.com
                                                     DAWN M. McMAHON
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                                            Attorneys for Defendants
                                            MIKE CARROLL, as Secretary of the FLORIDA
                                            DEPARTMENT OF CHILDREN & FAMILIES, and
                                            MARGUERITE MORGAN, individually and as
                                            Administrator of Florida State Hospital.


                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been sent via

electronic mail service and U.S. Mail to James V. Cook, Esq., 314 W. Jefferson St., Tallahassee,

FL 32301 at cookjv@gmail.com on this 2nd day of August, 2018.


                                            s/ Laura Beth Faragasso
                                            Attorney
